                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA



SOVEREIGN IÑUPIAT FOR A LIVING
ARCTIC, et al.,

               Plaintiffs,

    v.

BUREAU OF LAND MANAGEMENT, et               Case No. 3:23-cv-00058-SLG
al.,

               Defendants,
  and

CONOCOPHILLIPS ALASKA, INC.,

               Intervenor-Defendant.

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,

               Plaintiffs,

     v.

BUREAU OF LAND MANAGEMENT, et               Case No. 3:23-cv-00061-SLG
al.,

               Defendants,
  and

CONOCOPHILLIPS ALASKA, INC., et
al.,

               Intervenor-Defendants.




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       ORDER RE JOINT MOTION TO ADDRESS SCHEDULING

       Upon due consideration, the Joint Motion to Address Scheduling, at Docket

86 in Case No. 3:23-cv-00058-SLG and Docket 99 in Case No. 3:23-cv-00061-

SLG, is hereby GRANTED. IT IS ORDERED that the following schedule shall

govern further proceedings in these related cases:

       1. Defendants file and serve the administrative records: June 29, 2023.

       2. Plaintiffs identify concerns regarding sufficiency of the AR: July 7,

          2023.

       3. Defendants respond to AR concerns or supplement AR: July 14, 2023.

       4. Plaintiffs file opening brief: July 26, 2023.

       5. Defendants file response brief: August 23, 2023.

       6. Intervenor-Defendants file response briefs: August 30, 2023.

       7. Plaintiffs file reply brief: September 15, 2023.

       The Court notes that this schedule modifies the deadline for filing of the

administrative records, see Docket 84 in Case No. 3:23-cv-00058-SLG and Docket

94 in Case No. 3:23-cv-00061-SLG, and that Defendants shall now file the

administrative records on or before June 29, 2023.

       IT IS FURTHER ORDERED that Plaintiffs’ opening briefs shall be governed

by the page/word limits for motions for summary judgment under Local Civil Rule

7.4. Plaintiffs shall endeavor to meet those limits but, if necessary, may file a


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motion seeking a modest increase in page/word limits. Defendants and Intervenor-

Defendants shall each be allowed to file a combined response brief that addresses

the claims in both of the related cases, provided that all parties should coordinate

and reasonably seek to avoid duplicative or unnecessary arguments. The Court

will entertain reasonable requests for leave to file overlength briefs as may be

necessary in responding (or replying) to briefs from multiple parties.

       The Court acknowledges the parties’ joint request for a ruling not later than

November 10, 2023.

       Finally, the Court orders that the parties shall address the potential remedy

in their merits briefing, with the Court reserving the right to request supplemental

briefing on the remedy if necessary.

       Dated this 6th of June, 2023 at Anchorage, Alaska.

                                                  /s/ Sharon L. Gleason
                                                  UNITED STATES DISTRICT JUDGE




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